
Marcus Presley was convicted of capital murder for the killing of Marvin Smith. The murder was made capital because it was committed during a robbery in the first degree or an attempt thereof. See §13A-5-40(a)(2), Ala. Code 1975. The jury unanimously recommended that Presley be sentenced to death. The trial court accepted the jury's recommendation and sentenced Presley to death. The Court of Criminal Appeals affirmed both the conviction and the death sentence. See Presleyv. State, 770 So.2d 104 (Ala.Crim.App. 1999). Presley filed a petition for a writ of certiorari, which we granted pursuant to Rule 39(c), Ala.R.App.P.
We have carefully read and considered the briefs and the arguments of counsel. In addition, we have searched the record for any plain error, as required by Rule 39(k), Ala.R.App.P. We have found no error in either the guilt phase or the sentencing phase of the trial that adversely affected Presley's rights. Furthermore, we conclude that the trial court's findings concerning the aggravating and mitigating circumstances were supported by the evidence and that death was the proper sentence under the circumstances of this case. See § 13A-5-53(a) and (b), Ala. Code 1975. Accordingly, the judgment of the Court of Criminal Appeals is affirmed.
AFFIRMED.
Hooper, C.J., and Maddox, Cook, See, Lyons, Johnstone, and England, JJ., concur.
Houston, J., concurs specially. *Page 115 